Case 8:17-cv-00797-CEH-AEP Document 14 Filed 07/27/17 Page 1 of 1 PageID 63




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DORENE MIRANDA,

       Plaintiff,

v.                                                               Case No: 8:17-cv-797-T-36AEP

UNITED RECEIVABLES GROUP, LLC,
ANGEL LOPEZ, FELIX LOPEZ, ROB
ROGERS and MICHAEL LAMB,

      Defendants.
___________________________________/

                                            ORDER

       This matter is before the Court upon review of the file. Pursuant to a notice of settlement,

on May 26, 2017, the Court entered an Order dismissing this action without prejudice and

providing the parties an opportunity to submit a stipulation or final judgment for dismissal with

prejudice (Doc. 13). To date, the parties have not submitted a stipulation or final judgment.

Therefore, this matter will be dismissed with prejudice.

       ACCORDINGLY, it is now ORDERED AND ADJUDGED:

       1.      This action is dismissed, with prejudice.

       2.      The Clerk is directed to close this case.

       DONE AND ORDERED in Tampa, Florida on July 27, 2017.




COPIES TO:
Counsel of Record and Unrepresented Parties, if any
